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1 UNITED STATES DISTRICT COURT |
FOR THE EASTERN DISTRICT OF’ TEXAS.
2 BEAUMONT DIVISION costal
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4 UNITED STATES OF AMERICA ) CRIMINAL DOCKET NO.
) 1:94-cr-12 (2)
5 )
)
6 vs ) BEAUMONT, TEXAS
)
7 )
)
8 ANDRE DONNELL ROUTT, A/K/A)
ANDREW JOHNSON (2), ) AUGUST 19, 1994
9 DEFENDANT ) 4:20 P.M.
10 KEKE KEK KKK KKK KE KKK KKK KEKE KKEKKEKKEKKKKEKKKKKKEKKKKKEKEKKEKKKKKKKEK
11 TRANSCRIPT OF SENTENCING
BEFORE THE HONORABLE HOWELL COBB
12 UNITED STATES DISTRICT JUDGE
13 KKK KEK KK KEKE KR KKK KEK KEKAKKK KKH KKKKEKKEKKEKKKKKEKKKEKKEKREKKEKKEKEKSE
14 APPEARANCES:
15 FOR THE GOVERNMENT: MALCOM BALES
A.U.S.A.
16 350 MAGNOLIA, SUITE 150
BEAUMONT, TX 77701
17 .
18 FOR THE DEFENDANT: DENISE M. BENSON
FEDERAL PUBLIC DEFENDER
- 19 300 WILLOW, SUITE 227
BEAUMONT, TX 77701
20
21 COURT REPORTER: WENDELL R. PARKS, CP, CM
FEDERAL COURT REPORTER
22a ROOM 217 FEDERAL COURTHOUSE
300 WILLOW
23 BEAUMONT, TEXAS 77701
24
PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY;
25 TRANSCRIPT PRODUCED BY COMPUTER.

 

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1 AUGUST 19, 1994 4:20 P.M.
2 THE COURT: MR. ANDRE ROUTT.
3 HAVE YOU HAD AN OPPORTUNITY TO REVIEW YOUR
4 PRESENTENCE INVESTIGATION REPORT, MR. ROUTT?
5 THE DEFENDANT: YES, SIR.
6 THE COURT: AND MS. BENSON?
7 MS. BENSON: YES, YOUR HONOR.
8 THE COURT: I'M GOING TO TAKE UP THE OBJECTIONS
9 IN A FEW MOMENTS, BUT BEFORE I DO, ARE THERE ANY
10 AMENDMENTS, SUGGESTIONS, CORRECTIONS, ADDITIONS THAT YOU
11 WISH TO MAKE?
12 MS. BENSON: AS REGARDING MY OBJECTIONS OR JUST
| 13 REGARDING THE PRESENTENCE REPORT?
14 THE COURT: NO. NO, REGARDING THE REPORT.
15 MS. BENSON: NO, YOUR HONOR.
16 THE COURT: OR YOU, MR. ROUTT?
17 THE DEFENDANT: NO, SIR.
18 THE COURT: THE DEFENDANT AS TO THE FIRST
19 OBJECTION OBJECTS TO PARAGRAPHS ELEVEN, TWELVE, THIRTEEN,
20 FOURTEEN, EIGHTEEN, TWENTY-THREE AND THIRTY-FOUR, WHEREIN
ai RELEVANT CONDUCT IS CONSIDERED FROM 1987 TO '89, TWO TO
22 FOUR YEARS BEFORE THE ALLEGED CONSPIRACY BEGAN IN JANUARY
23 OF 1991, AND THE DEFENDANT MAINTAINS THE USE OF THIS
a4 INFORMATION SHOULDN'T BE CONSIDERED, THAT IS, AS IT'S NOT
25 WITHIN THE MEANING OF THE UNITED STATES SENTENCING

 

 

 
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1 GUIDELINE, SECTION 1(B) (1.3) (A) (2).

a VARIOUS CASE LAW IS CITED CONCERNING THE

3 DEFENDANT'S ARGUMENT ABOUT HIS DRUG ACTIVITY PRIOR TO

4 1991 NOT BEING RELEVANT.

5 THE GUIDELINES, PARAGRAPH 1(B) (1.3) (A) (2),

6 PROVIDE THAT THE OFFENSE LEVEL ADJUSTMENT SHALL BE

7 DETERMINED ON THE BASIS OF ALL ACTS COMMITTED BY THE

8 DEFENDANT THAT OCCURRED DURING THE COMMISSION OF THE

9 OFFENSE OF CONVICTION OR IN PREPARATION.
10 THE COMMENT NOTE 9 PROVIDES FACTORS THAT ARE
11 APPROPRIATE TO THE DETERMINATION OF WHETHER OFFENSES ARE
12 SUFFICIENTLY CONNECTED OR RELATED TO EACH OTHER TO BE
13 CONSIDERED AS A PART OF THE SAME COURSE OF CONDUCT, TO
14 INCLUDE THE DEGREE OF SIMILARITY OF THE OFFENSES AND THE
15 TIME INTERVAL.
16 THE DEFENDANT DOES NOT DENY THAT HE WAS
17 INVOLVED IN DRUG TRANSACTIONS FROM 1987 UP TO 1991, WHICH
18 IS THE DATE MENTIONED IN THE OFFENSE OF CONVICTION. HE
19 MERELY MAINTAINS IT'S NOT RELEVANT TO THIS OFFENSE.
20 IN 1987 THE DEFENDANT DEVELOPED A DRUG BUSINESS
21 WITH SEVERAL INDIVIDUALS, INCLUDING DELVIN LIVINGSTON.
22 THE DEFENDANT'S DRUG SPREE HAS BEEN GOING ON SINCE THAT
23 YEAR.
24 WHILE THE DEFENDANT ATTEMPTS TO SEPARATE HIS
25 PRIOR DRUG TRANSACTIONS WITH THE OFFENSE OF CONVICTION BY

 

 

 
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MAINTAINING THAT THE PRIOR BEHAVIOR OCCURRED FOUR YEARS
BEFORE THE INVOLVEMENT IN THIS MATTER, THAT CONTENTION
ISN'T TRUE. |

THE DEFENDANT CONTINUOUSLY DEALT DRUGS BY WAY

OF COOKING CRACK COCAINE OR DISTRIBUTING CRACK COCAINE OR

 

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POWDER COCAINE FROM 1987 UNTIL THE DATE THAT HE WAS
IMPRISONED.

THE DEFENDANT WAS INCARCERATED FROM JULY 10,
1990, IN THE STATE PRISON SYSTEM, AND WAS RELEASED SEVEN
MONTHS LATER ON FEBRUARY 15, 1991, AND ACCORDING TO
LIVINGSTON, AS WELL AS THE FACTS OF THIS CASE, THE
DEFENDANT BEGAN DEALING DRUGS IMMEDIATELY FOLLOWING HIS
RELEASE FROM IMPRISONMENT, AND AS SUCH, THE ONLY TIME
LAPSE THERE'S BEEN SINCE MAY, 1987, TO MAY, 1992, WAS A
SEVEN MONTH PERIOD OF INCARCERATION.

CONSIDERING HIS HEAVY DRUG ACTIVITY BEFORE
IMPRISONMENT, AS WELL AS AFTERWARDS, IT'S REASONABLE TO
ASSUME THAT HAD HE NOT BEEN INCARCERATED HE WOULD HAVE
STILL BEEN DEALING DRUGS. SO, THE EVIDENCE TENDS TO
SATISFY THE REQUIREMENTS OF TEMPORAL PROXIMITY.

ALL OF MY FINDINGS, RULINGS ON THE PRESENTENCE
INVESTIGATION REPORT AND THE OBJECTIONS THERETO ARE BASED
UPON A PREPONDERANCE OF THE EVIDENCE BEFORE ME AND ON THE
TRIAL, MY RECOLLECTION OF THE RECORD IN THE TRIAL OF THE

CASE, AND UPON THE PRESENTENCE INVESTIGATION REPORT,

 

 
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WHICH HAS SUFFICIENT INDICIA OF RELIABILITY AND

TRUSTWORTHINESS THAT I CAN AND DO FIND THAT IT'S PROBABLY

ACCURATE, AND I ADOPT IT AND I FIND THAT IT IS CORRECT.
NOW, REGARDING SIMILARITY AND REGULARITY, WHILE

THE DEFENDANT MAINTAINS THAT THE PLAYERS AND THE TYPES OF

 

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DRUGS IN THE PREVIOUS ACTIVITY WERE DIFFERENT FROM THE
PLAYERS AND THE DRUGS IN THE OFFENSE OF CONVICTION, THIS
ALSO IS NOT TRUE.

BEFORE THE INDICTMENT, THE DEFENDANT'S
ACTIVITIES INCLUDED NUMEROUS PARTICIPANTS, SOME OF WHOM
ARE THE SAME INDIVIDUALS LISTED IN THE INDICTMENT.

FOR INSTANCE, AT DIFFERENT TIMES FROM '87 TO
'90 THE DEFENDANT PARTICIPATED IN DRUG TRANSACTIONS WITH
LIVINGSTON, TIFFANY SHEPHARD, EDDIE GARCIA, MARIA LOPEZ,
GERALD DUFFY, TONY BERRY AND OTHER INDIVIDUALS IN
HOUSTON, WACO AND IN MISSISSIPPI.

ACCORDING TO DELVIN LIVINGSTON, AS WELL AS THE
DEFENDANT, ALL OF THE INDIVIDUALS JUST NAMED WERE ALSO
PARTICIPANTS IN HIS ACTIVITIES FROM JANUARY OF '91 TO MAY
OF 1992, THE TIME FRAME LISTED IN THE INDICTMENT.

REGARDING THE SUBSTANCE AS BEING DIFFERENT,
DELVIN LIVINGSTON ADVISED THAT THEY'VE ALWAYS SOLD CRACK
COCAINE AND POWDER COCAINE.

INFORMATION IN THE PRESENTENCE REPORT INDICATES

THAT DURING THE TIME DELVIN LIVINGSTON ASSISTED ANDREW

 

 
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ROUTT AND "BONNIE BOO" IN THEIR OPERATIONS, AT LEAST
FIFTEEN PERCENT OF THOSE CONTROLLED SUBSTANCES WHICH WERE
DISTRIBUTED WAS POWDER COCAINE AND EIGHTY-FIVE PERCENT
WAS CRACK COCAINE.

AS WELL, DELVIN LIVINGSTON MAINTAINS THAT HE,

 

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THE DEFENDANT AND EDDIE GARCIA WERE PARTNERS.

ALTHOUGH LIVINGSTON AND GARCIA DISTRIBUTED
MOSTLY POWDER COCAINE, THE DEFENDANT STILL DISTRIBUTED
CRACK COCAINE.

WHILE IT'S TRUE THAT LIVINGSTON DID NOT TESTIFY
TO CERTAIN THINGS AT TRIAL, IT'S NOTED THAT HE WAS NEVER
ASKED SPECIFIC QUESTIONS BY EITHER THE PROSECUTION OR
DEFENSE REGARDING THE VARIOUS MATTERS THAT THE DEFENDANT
HAS OBJECTED TO IN THE PRESENTENCE REPORT.

THE PROBATION OFFICER HAS REQUIRED ABOUT THESE
SPECIFICS DURING THE PRESENTENCE INTERVIEW TO FIND OUT
UNDER THE GUIDELINES WHAT THE PERTINENT AND RELEVANT
FACTS WERE.

SENTENCING JUDGES ARE NOT RESTRICTED TO
INFORMATION THAT WOULD BE ADMISSIBLE AT TRIAL AND ANY
INFORMATION WHICH MAY BE CONSIDERED UNDER THE GUIDELINES.
AS LONG AS IT HAS SUFFICIENT INDICIA OF RELIABILITY AND
TRUSTWORTHINESS TO SUPPORT ITS PROBABLE ACCURACY, THEN
THE JUDGE CAN ADOPT IT AND USE IT AND FIND THAT IT'S

CORRECT.

 

 
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RELIABLE HEARSAY MAY BE CONSIDERED IN A

 

2 PRESENTENCE INVESTIGATION REPORT IN ASSESSING A SENTENCE,
3 WHILE IT MIGHT NOT BE ADMISSIBLE IN COURT.

4 I FIND THAT THE DEFENDANT'S DRUG ACTIVITY

5 STEMMING FROM 1987 TO THE MID-1990S IS RELEVANT CONDUCT

6 AND IS TO BE CONSIDERED FOR THE PURPOSES OF THE

7 DEFENDANT'S GUIDELINE SENTENCING RANGE.

8 SPECIFICALLY, THE COURT DETERMINES AND FINDS

9 THAT THE EQUIVALENT OF 4363.40 KILOGRAMS OF COCAINE
10 POWDER CAN BE AND IS ATTRIBUTED TO THE DEFENDANT, AS THIS
11 IS THE DRUG BEHAVIOR THAT OCCURRED PRIOR TO 1991.
12 AND I FIND FURTHER THAT THIS RELEVANT CONDUCT
13 PASSES THE TEST OF SIMILARITY, REGULARITY AND TEMPORAL
14 PROXIMITY.

15 AND I FIND THAT THE INFORMATION PROVIDED BY
16 DELVIN LIVINGSTON AND OTHERS, BUT PARTICULARLY
17 LIVINGSTON, REGARDING THE DEFENDANT'S PRIOR RELATED DRUG
18 ACTIVITY, HAS SUFFICIENT INDICIA OF RELIABILITY AND
19 TRUSTWORTHINESS TO SUPPORT AND TO INDICATE TO THIS COURT
20 ITS PROBABLE ACCURACY, AND IT IS TO BE USED IN
al CALCULATING THE DEFENDANT'S GUIDELINE IMPRISONMENT RANGE.
22 AND THEREFORE, OBJECTION NUMBER ONE IS IN ALL
23 THINGS OVERRULED AND DENIED.
24 MR. BALES: YOUR HONOR, IF I MIGHT INTERRUPT
25 JUST A MOMENT, IT DOESN'T HAVE ANY IMPACT OR IMPORT AS TO

 

 

 
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1 YOUR RULING, BUT I NOTICED IN THE RESPONSE TO THE
2 OBJECTION THAT IT'S LISTED THAT TONY BERRY PARTICIPATED
3 IN DRUG TRANSACTIONS FROM ‘87 TO ‘90. WHETHER MR.
4 ARMSTRONG MISUNDERSTOOD LIVINGSTON OR HE MISSPOKE, I DO
5 NOT BELIEVE THAT THAT IS ACCURATE.
6 IT DOESN'T REALLY MATTER I DON'T THINK AS TO
7 THE COURT'S RULING, BUT BERRY TESTIFIED, AND I BELIEVE
8 THAT HE WOULD NOT HAVE BEEN INVOLVED WITH ANDREW ROUTT OR
9 THESE PEOPLE UNTIL 1991.
10 THE COURT: WELL, THAT MAY BE TRUE AS TO BERRY.
11 MR. BALES: YES, SIR.
12 THE COURT: BUT IT ISN'T TRUE AS TO LIVINGSTON
13 AND GARCIA.
14 MR. BALES: CORRECT. I JUST WANTED THE RECORD --
15 THE COURT: ALL RIGHT.
16 MR. BALES: I DON'T WANT THERE TO BE ANY
17 SITUATION WHERE THAT MIGHT --
18 THE COURT: I'M NOT RELYING ON BERRY BECAUSE
19 BERRY'S TESTIMONY IS DIFFERENT THAN, I MEAN, EACH OF
20 THEM, THAT IS, GARCIA, DUFFY, BERRY, AND I DON'T KNOW
21 WHETHER -- KING IS STILL ON APPEAL I BELIEVE.
22 MR. BALES: YES, SIR. I JUST --
23 THE COURT: I CONSIDER ALL OF THEM IN THEIR
24 TOTALITY, NOT TRYING TO ASSIGN A SPECIFIC PERIOD OF TIME
25 THAT EACH WITNESS TESTIFIED TO, AND TO THE EXTENT THAT BY

 

 

 
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1 MENTIONING BERRY THAT IT EXTENDED PRIOR TO 1991 AND BERRY
a SAYS NO, THEN, OF COURSE, YOU'RE CORRECT ON THAT.
3 BUT AS TO THE OTHERS, YES, THERE IS -- IT DOES
4 CONNECT HIM UP FROM '87 FORWARD, TO WHEN THE CONSPIRACY
5 WAS ENDED.
6 MR. BALES: YES, SIR. SO THAT I AM CLEAR, THE
7 GOVERNMENT'S POSITION IS, WE AGREE WITH THE COURT'S
8 RULING, I JUST -- INSOFAR AS BERRY BEING SOMEONE WHO
9 DEALT WITH MR. ROUTT AT THAT TIME, I THINK THAT'S A
10 MISTAKE, AND I WANTED TO MAKE THAT CLEAR.
11 THE COURT: ALL RIGHT. THE DEFENDANT OBJECTS
12 TO PARAGRAPH THIRTY-FIVE, WHERE HE'S GIVEN A TWO-LEVEL
13 ENHANCEMENT FOR POSSESSING A FIREARM. THE DEFENDANT
14 ADVISES THAT THERE WAS NO TESTIMONY AT TRIAL ACCUSING HIM
15 OF POSSESSING A FIREARM.
16 THE 1989 AGGRAVATED ASSAULT CONVICTION, WHICH
17 INVOLVED A FIREARM, SHOULD NOT BE CONSIDERED THE DEFENDANT
18 SAYS, AS HE WAS PUNISHED FOR THE SAME AND THE INCIDENT
19 DID NOT INVOLVE DRUGS.
20 THE DEFENDANT ALSO OBJECTS TO PARAGRAPH
21 THIRTY-SEVEN, WHERE HE'S GIVEN A FOUR-LEVEL ENHANCEMENT
a2 FOR HAVING A LEADERSHIP ROLE. HE CONTENDS THAT DELVIN
23 LIVINGSTON WAS THEIR MAIN LEADER AND THAT HE DELIVERED
24 ALL THE MONEY AND ALL THE BUYING OF THE DRUGS.

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SINCE LIVINGSTON WAS THE MASTERMIND, AS THE

 

 
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1 DEFENDANT SAYS, HE FEELS THAT HE SHOULD RECEIVE A

2 TWO-LEVEL ENHANCEMENT ONLY.

3 JUST A MOMENT.

4 MR. ARMSTRONG --

5 PROBATION OFFICER: YES, SIR.

6 THE COURT: WILL YOU EXCUSE ME A MOMENT? I

7 WANT TO CONFER WITH MR. ARMSTRONG.

8 (OFF-THE-RECORD DISCUSSION BETWEEN THE COURT

9 AND THE PROBATION OFFICER)

10 THE COURT: IF A DANGEROUS WEAPON UNDER THE

11 GUIDELINES, 2(B)(1.1)(B) (1), IS POSSESSED, THE GUIDELINES
12 REQUIRE THE GUIDELINE TOTAL TO BE INCREASED BY TWO

13 LEVELS.
14 CONCERNING THE COURSE OF CONDUCT AS TO

15 LIVINGSTON BEING THE MASTERMIND AND SO ON, I'VE ALREADY
16 MADE A FINDING ON THIS POINT AS TO WHETHER THE PRIOR

17 ACTIVITIES ARE RELATED TO THE OFFENSE OF CONVICTION.

18 THE DEFENDANT'S ASSAULT IN 1989 PROVES HE

19 POSSESSED GUNS DURING THE CONSPIRACY. ALTHOUGH IT DIDN'T
20 INVOLVE A DRUG TRANSACTION, CERTAINLY THE DEFENDANT

21 NEVERTHELESS HAD A FIREARM.
2a HIS DRUG DEALING SEEMS TO HAVE BEEN ROUTT'S

23 LIVELIHOOD, BY THE EVIDENCE OF HIS LACK OF PREVIOUS
24 EMPLOYMENT. IT'S REASONABLE TO ASSUME THAT HE POSSESSED

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GUNS DURING MOST OF THE DRUG DEALS. IN FACT, HE

 

 
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1 POSSESSED A FIREARM ON NOVEMBER 12, 1988, WHEN HE WAS
a ARRESTED FOR UNLAWFULLY CARRYING A WEAPON AND POSSESSION
3 OF DRUGS.
4 NOW, MORE TO THE POINT, LIVINGSTON MAINTAINS HE
5 SOLD THE DEFENDANT A NINE MILLIMETER FIREARM IN 1991,
6 WHICH WAS DURING THE TIME FRAME OF THE OFFENSE OF
7 CONVICTION.
8 EVEN IF THE DEFENDANT DID NOT PURCHASE A NINE
9 MILLIMETER HANDGUN, HE ADMITTED IN THE PRESENTENCE
10 INTERVIEW WITH THE PROBATION OFFICER THAT LIVINGSTON
11 CARRIED A NINE MILLIMETER GUN AT SOME POINT.
12 AS A DEADLY WEAPON WAS POSSESSED BY HIS
13 CO-DEFENDANT, ENHANCEMENT WOULD BE APPLICABLE TO THIS
14 DEFENDANT, AS IT WAS REASONABLY FORESEEABLE TO ROUTT THAT
15 LIVINGSTON POSSESSED A FIREARM DURING THEIR
16 JOINTLY-UNDERTAKEN CRIMINAL ACTIVITY IN DRUG DEALING.
17 CONCERNING THE DEFENDANT'S ATTEMPT TO MINIMIZE
18 HIS ROLE BY CHARACTERIZING DELVIN LIVINGSTON AS THE MAIN
19 LEADER, THERE CAN BE AND OFTEN ARE MORE THAN ONE PERSON
20 THAT CAN QUALIFY AS A LEADER OF AN ORGANIZATION OR A
21 CRIMINAL ASSOCIATION OR CONSPIRACY. THE COURT SHOULD
22 CONSIDER THE EXERCISE OF DECISION-MAKING ABILITY, THE
23 NATURE OF PARTICIPATION IN THE COMMISSION OF THE OFFENSE,
a4 THE RECRUITMENT OF ACCOMPLICES, THE CLAIMED RIGHT TO A
25 LARGER SHARE OF THE FRUITS OF THE CRIME, THE DEGREE OF

 

 

 
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1 PARTICIPATION AND PLANNING OR ORGANIZING THE OFFENSE, THE
2 NATURE AND SCOPE OF THE ILLEGAL ACTIVITY, AND THE DEGREE
3 OF CONTROL AND AUTHORITY THAT HE EXERCISED OVER OTHERS.
4 IN THIS CASE THE DEFENDANT WAS A FULL PARTNER,
5 HE REAPED A THIRD SHARE OF THE FRUITS OF HIS CRIMES AND
6 WAS MADE PARTNER BECAUSE OF HIS CONNECTIONS IN
7 DISTRIBUTING CONTROLLED SUBSTANCES. AS SUCH, HIS
8 PARTICIPATION PLAYED A LARGE ROLE IN THE PLANNING AND
9 ORGANIZING OF THE OFFENSE. THE OTHER TWO PARTNERS COULD
10 NOT HAVE ACCOMPLISHED THE DISTRIBUTION ASPECT WITHOUT
11 HIM.
12 IN ADDITION, THAT'S WHY THEY OFFERED HIM A
13 PARTNERSHIP IMMEDIATELY UPON HIS RELEASE FROM
14 IMPRISONMENT.
15 WHILE HE'S RIGHT, THEY HAD THE BUYING POWER AND
16 THE DRUGS, THEY COULD DO NOTHING WITH THEM IF THEY HAD
17 NOWHERE TO DISTRIBUTE THEM.
18 REGARDING THE RECRUITMENT OF ACCOMPLICES, THEY
19 ALL SUPERVISED AT LEAST ONE MULE. AS SUCH, THE DEFENDANT
20 SHARED EQUAL LEADERSHIP WITH EDDIE GARCIA AND DELVIN
a1 LIVINGSTON, AND THEY USED THE SERVICES OF AT LEAST ONE
22 MULE, TIFFANY SHEPHARD, WHO WAS ANOTHER ONE OF THEIR
23 CONNECTIONS, AS WELL AS NUMEROUS BUYERS.
24 AND I FIND THE PROBATION OFFICER WAS CORRECT IN
25 ENHANCING THE DEFENDANT'S LEVEL BY TWO PURSUANT TO THE

 

 

 
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1 DEFENDANT'S POSSESSING A FIREARM DURING THE OTHERWISE

2 EXTENSIVE CRIMINAL ACTIVITY, AND THAT THE PROBATION

3 OFFICER WAS ALSO CORRECT IN ENHANCING THE DEFENDANT'S

4 LEVEL BY FOUR AS A RESULT OF HIS ROLE IN THIS OTHERWISE

5 EXTENSIVE CRIMINAL ACTIVITY.

6 THEREFORE, THAT OBJECTION IS DENIED AND

7 OVERRULED.

8 I'LL MAKE MY FINDINGS FROM A PREPONDERANCE OF

9 THE EVIDENCE NOW ON THE PRESENTENCE REPORT, AND THAT IS
10 BASED UPON THE PRESENTENCE REPORT, THE EVIDENCE AT TRIAL,
il AND I FIND THAT THE PRESENTENCE REPORT IS BASED UPON

12 INFORMATION OF SUFFICIENT RELIABILITY AND TRUSTWORTHINESS
13 THAT I CAN AND DO ADOPT IT AND RELY UPON IT AND FIND THAT
14 IT IS CORRECT.

15 PART "A", THE OFFENSE, CHARGES AND CONVICTIONS,
16 CO-DEFENDANT INFORMATION, THE OFFENSE CONDUCT, IS CORRECT,
17 AND I SO FIND, AND I FIND BY THE STANDARD THAT I EARLIER
18 ANNOUNCED.

19 I FURTHER FIND THAT THERE ARE NO IDENTIFIABLE
20 INDIVIDUAL VICTIMS OF THIS OFFENSE.
al THE PROBATION OFFICER HAS NOT FURNISHED ANY

22 INFORMATION TO SUGGEST THE DEFENDANT HAS IMPEDED OR
23 OBSTRUCTED JUSTICE.
24 THERE IS NO ACCEPTANCE OF RESPONSIBILITY
25 INVOLVED IN THIS CASE.

 

 

 
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1 THE 1993 EDITION OF THE GUIDELINES MANUAL HAS
2 BEEN USED IN THIS CASE, AND THE BASE OFFENSE LEVEL IS

3 FORTY-TWO.

4 THE DEFENDANT IS ACCOUNTABLE FOR THE EQUIVALENT
5 OF 4513 KILOGRAMS OF COCAINE POWDER. 1500 KILOGRAMS OR
6 MORE OF COCAINE POWDER YIELDS A BASE LEVEL, BASE OFFENSE
7 LEVEL OF FORTY-TWO.

8 SPECIFIC OFFENSE CHARACTERISTICS OF USING,

9 POSSESSING A DANGEROUS WEAPON INCREASES IT BY TWO, AS

10 INDICATED IN PARAGRAPH THIRTY-FIVE.
11 THERE ARE NO VICTIM-RELATED ADJUSTMENTS.
12 AS FOUND, WHICH I ADOPT, IN PARAGRAPH
13 THIRTY-SIX, THERE'S AN UPWARD ADJUSTMENT OF FOUR LEVELS
14 FOR ROLE IN THE OFFENSE, WHICH YIELDS A TOTAL OF
15 FORTY-EIGHT.
16 THERE IS NO ADJUSTMENT FOR OBSTRUCTION OF
17 JUSTICE.
18 THERE'S NO ADJUSTMENT FOR ACCEPTANCE OF
19 RESPONSIBILITY.
20 THE TOTAL OFFENSE LEVEL IS FORTY-EIGHT.
21 THERE ARE NO CHAPTER FOUR ENHANCEMENTS.
22 THE TOTAL OFFENSE LEVEL IS FORTY-EIGHT.
23 I FIND THAT PART "B", THE DEFENDANT'S CRIMINAL
24 HISTORY, IS CORRECT, IN THAT HE HAS TWO CONVICTIONS, AS
25 REFLECTED IN PARAGRAPH FORTY-FIVE AND IN PARAGRAPH

 

 

 
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1 FORTY-SIX. THAT GIVES A SUBTOTAL OF FOUR.
2 AT THE TIME OF THE INSTANT OFFENSE THE
3 DEFENDANT WAS ON PAROLE. UNDER THE GUIDELINE PROVISION
4 OF 4(A)(1.1)(D), TWO POINTS ARE ADDED.
5 THE INSTANT OFFENSE WAS COMMITTED LESS THAN TWO
6 YEARS FOLLOWING THE DEFENDANT'S RELEASE FROM CUSTODY.
7 UNDER THE GUIDELINE, 4(A)(1.1)(E), ONE POINT IS ADDED.
8 THEREFORE, THE TOTAL OF THE CRIMINAL HISTORY
9 POINTS IS SEVEN, AND ACCORDING TO THE SENTENCING TABLE,
10 SEVEN CRIMINAL HISTORY POINTS ESTABLISH A CRIMINAL
i1 HISTORY CATEGORY OF FOUR.
12 OTHER CRIMINAL CONDUCT WHICH IS REPORTED TO ME
13 AS NOTED IN PARAGRAPH FIFTY-ONE, I FIND IT WAS CORRECT TO
14 REPORT IT. IT DOES NOT PLAY ANY PART IN HIS CRIMINAL
15 HISTORY CATEGORY, HOWEVER.
16 I FIND PART "C" AS TO HIS OFFENDER
17 CHARACTERISTICS ARE CORRECT, AND I SO FIND AND ADOPT
18 THOSE.
19 THE FINANCIAL CONDITION OR ABILITY TO PAY IS
20 CORRECT.
al I FIND THAT THE MINIMUM TERM IS TEN YEARS
22 IMPRISONMENT. THE MAXIMUM TERM IS NOT MORE THAN LIFE.
a3 BASED UPON A TOTAL OFFENSE LEVEL UNDER THE
24 GUIDELINE PROVISIONS OF FORTY-EIGHT AND A CRIMINAL
25 HISTORY CATEGORY OF FOUR, THE ONLY GUIDELINE IMPRISONMENT

 

 

 
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1 RANGE IS LIFE IMPRISONMENT, AND THIS WILL RUN
2 CONCURRENTLY WITH THE UNDISCHARGED STATE SENTENCE, AS THE
3 LIFE SENTENCE REPRESENTS THE TOTAL PUNISHMENT
4 IMPRISONMENT RANGE FOR ALL OFFENSES WHICH HAVE BEEN
5 PROSECUTED FEDERALLY.
6 IN THE EVENT THAT THE DEFENDANT IN SOME MANNER
7 IS RELEASED DURING THE TERM OF HIS NATURAL LIFE, A TERM
8 OF SUPERVISED RELEASE IS REQUIRED IF ANY SENTENCE OF
9 IMPRISONMENT IS IMPOSED. IT'S EITHER THREE YEARS BUT NOT
10 GREATER THAN FIVE YEARS. SINCE FIVE YEARS IS IMPOSED BY
il STATUTE, THE TERM WILL BE FIVE YEARS.
12 THE DEFENDANT IS NOT ELIGIBLE FOR PROBATION,
13 SINCE IT'S A CLASS "A" FELONY, BOTH STATUTORILY AND UNDER
14 THE GUIDELINES.
15 THE MAXIMUM FINE IS FOUR MILLION DOLLARS.
16 A SPECIAL ASSESSMENT OF FIFTY DOLLARS IS
17 MANDATORY.
18 THE GUIDELINE FINE RANGE IS FROM TWENTY-FIVE
19 THOUSAND TO FOUR MILLION DOLLARS.
20 THERE ARE NO INDIVIDUAL VICTIMS OF THE OFFENSE.
ai RESTITUTION IS NOT AN ISSUE.
22 UNDER THE STATUTE AND THE GUIDELINES, I MAY
23 DENY CERTAIN ELIGIBILITY FOR THE DEFENDANT TO APPLY FOR
24 OR RECEIVE CERTAIN FEDERAL BENEFITS FOR ANYONE CONVICTED
25 OF DISTRIBUTION OR POSSESSION OF A CONTROLLED SUBSTANCE.

 

 

 
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17

THERE ARE NO FACTORS THAT HAVE BEEN FORWARDED
TO ME WHICH WOULD WARRANT AN UPWARD, CERTAINLY NOT AN
UPWARD, BUT A DOWNWARD DEPARTURE.

I DO NOT KNOW WHETHER THE THE GOVERNMENT HAS

FILED OR INDICATED WHETHER IT HAS FILED A 5(K) (1) OR NOT.

 

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MR. BALES: WE HAVE NOT, YOUR HONOR, BUT
CONCERNING ANY FACTORS THAT THE COURT MIGHT CONSIDER --

THE COURT: I UNDERSTAND THAT THERE WAS A -- I
SIGNED AN ORDER OF ALTERNATIVE CUSTODY, AND THEREFORE, I
WOULD PRESUME THAT THERE IS A POSSIBILITY OF A 35(B) IN
THE FUTURE. I DO NOT KNOW. IF IT'S FILED, I'LL ACT ON
IT.

MR. BALES: WELL, WHATEVER IMPACT IT MAY HAVE
ON THE COURT'S DECISION TODAY, YOUR HONOR, ALTHOUGH IT'S
PREMATURE FOR US TO ASK FOR A FORMAL REDUCTION BASED ON
5(K) (1), AND WE'RE NOT PREPARED TO PRESENT A RULE 35 AT
THIS TIME, I WOULD WANT THE COURT TO KNOW THAT --

THE COURT: WELL, YOU DON'T HAVE TO PUT IT IN
THE RECORD.

MR. BALES: RIGHT.

THE COURT: BUT YOU DID ASK FOR ALTERNATIVE
CUSTODY. I PRESUME THAT THIS COULD LEAD TO THE
SUBSEQUENT FILING OF A 35(B), NOT NECESSARILY THAT YOU
WILL, BUT IT COULD.

MR. BALES: RIGHT. AND I ANTICIPATE, GIVEN THE

 

 
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18

POSITIVE DEVELOPMENT SO FAR IN THAT AREA, THAT WE WILL
PROBABLY BE SEEING THE COURT, AND I THINK THERE'S BEEN A
REMARKABLE CHANGE IN THE RELATIONSHIP BETWEEN ROUTT AND
THE GOVERNMENT, AND IT'S TO THE POSITIVE FROM OUR POINT

OF VIEW. I DID WANT THE COURT TO KNOW THAT, THAT HE HAS

 

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EXPENDED SOME ENERGY AND DONE SOME THINGS WE'RE
INTERESTED IN, AND WE APPRECIATE IT.

I WAS JUST GOING TO SAY THOUGH, OUR POSTURE
WOULD BE THAT WE WOULD, IF IT'S APPROPRIATE WHEN IT'S
RIPE, WE WILL ASK TO REVISIT THIS IN SOME SORT OF RULE 35
RULING.

MS. BENSON: AND I JUST WANT TO SAY, I HAD
SPOKEN WITH GARY HARRISON, I BELIEVE HE'S WITH THE DEA IN
WACO, AND HE HAD CALLED TO SAY THAT HE WANTED TO BE
PRESENT WITH THE COURT TODAY TO LET MR. ROUTT KNOW HOW
SUPPORTIVE HE WAS OF HIM, BUT HE DID HAVE TO GET BACK TO
WACO, AND IT WAS A FIVE-HOUR DRIVE, SO HE WASN'T ABLE TO
STAY FOR THE SENTENCING.

THE COURT: WAIT A MINUTE. HE'S GOT LIGHTS AND
ALL THAT SORT OF STUFF. HE COULD HAVE MADE IT BACK.

MS. BENSON: I THINK HE SAID HE HAD BEEN GONE A
WEEK AND WANTED TO GET BACK HOME, BUT HE DID WANT TO LET
ME KNOW THAT MR. ROUTT HAD BEEN COOPERATING, AND I
BELIEVE HE WAS EVEN TAKEN TO WACO TO TESTIFY IN A TRIAL,

BUT THAT TRIAL DID NOT GO FORWARD ON THAT DATE, AND THAT

 

 
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1 HE HAS BEEN VERY COOPERATIVE.
2 BUT I AGREE WITH MR. BALES IN THE FACT THAT
3 THEY'VE NOT FINISHED OR COMPLETED THEIR INVESTIGATION,
4 HE'S STILL COOPERATING, AND THAT IT MAY BE PREMATURE NOW
5 TO ASK FOR A 5(K)(1), BUT WE'RE VERY HOPEFUL THAT THERE
6 WILL BE A RULE 35(B) BASED ON HIS COOPERATION AT THIS
7 POINT.
8 THE COURT: ANYTHING YOU WISH TO SAY, MR.
9 ROUTT?
10 THE DEFENDANT: WELL, YOU OVERRULED THE
11 DECISION ON THE PRESENTENCE INVESTIGATION STEMMING FROM
12 1987, WHEN I SUPPOSED TO HAVE BEEN A CO-CONSPIRATOR WITH
13 MR. LIVINGSTON. I WAS NOT.
14 AND IT WAS IN THERE THAT I SUPPOSED TO HAVE
15 COOKED AN OUNCE OR TWO FOR HIM AND RANDLE, BUT NOW IT
16 INDICATES THAT I WAS A CONSPIRATOR, AND HE FORESEEN,
17 BELIEVED THAT ME AND MR. RANDLE, ANOTHER MR. RANDLE, NOT
18 THE ONE HE WAS TOGETHER WITH ON THE OUNCE OR TWO,
19 DISTRIBUTED FORTY-TWO, WHICH WAS EIGHTY-FIVE PERCENT
20 CRACK, WHICH THROWED ME UP TO THE FOUR THOUSAND AND
al SOMETHING KILOGRAMS OF COCAINE.
22 I JUST WANTED TO SAY THAT IF I WOULD HAVE KNOWN
23 THAT THIS HERE WOULD HAVE BEEN ENHANCED ON MY BEHALF --
24 THE COURT: MULTIPLIED BY A HUNDRED.
25 THE DEFENDANT: YERAH. BUT THE FACT --

 

 

 
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THE COURT: CONVERT POWDER TO CRACK.

 

2 THE DEFENDANT: I UNDERSTAND PARTLY WHY I WAS
3 CONVICTED, BECAUSE HE HAD FOUR OTHER PEOPLE CORROBORATING
4 THE SAME STORY, WHICH IS A REASON OF A DOUBT TO BELIEVE,
5 BUT THERE WAS NO ONE TO CORROBORATE THIS STORY HERE, AND
6 THE PRESENTENCE OFFICER JUST INDICATED TO ASK HIM THAT,
7 AND THAT LET THAT STICK IN THERE, AND ABOUT THE GUN, YOU
8 KNOW, AND I FEEL LIKE IT WAS IRRELEVANT.

9 THE COURT: WELL, YOU HAD EVERY OPPORTUNITY TO
10 TESTIFY. YOU DIDN'T TESTIFY. I DON'T KNOW WHETHER you.
11 WANTED TO AND YOUR COUNSEL ADVISED YOU AGAINST IT. I
12 UNDERSTAND THAT YOU HAD CERTAIN OPTIONS BEFORE YOU WENT
13 TO TRIAL THAT YOU REJECTED COMPLETELY.

14 THERE'S NOTHING IN THE WORLD -- I MEAN, IT

15 DOESN'T GIVE ME -- IF YOU THINK, IF ANYBODY THINKS IT

16 GIVES ME ANY PLEASURE TO LOOK AT ANOTHER HUMAN BEING AND
17 DETERMINE WHERE HE'S GOING TO SPEND TEN OR TWENTY OR

18 THIRTY YEARS OR THE REST OF HIS LIFE, YOU'RE ABSOLUTELY
19 WRONG. IT GIVES ME NO PLEASURE, ANDREW, NONE AT ALL.

20 I SAID ANDREW --

al THE DEFENDANT: ANDRE.

22 THE COURT: I HAVE A GRANDSON NAMED ANDREW. MY
23 GRANDFATHER WAS NAMED ANDREW. SO, I'M FAMILIAR WITH THE
24 NAME. THEY PUT A "W" ON IT THOUGH INSTEAD OF LIKE YOU

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DO.

 

 
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1 NO. THE HARDEST JOB ANY JUDGE HAS IS IMPOSING
2 A SENTENCE. BUT I DON'T PASS THE LAWS, I DON'T MAKE THEM.
3 IT'S GOING TO GET WORSE.
4 THE DEFENDANT: YES, SIR.
5 THE COURT: MAYBE, MAYBE NOT, BUT IT COULD WELL
6 GET WORSE INSOFAR AS THE AMOUNTS OF PUNISHMENT THAT ARE
7 METED OUT, AND WE'RE REQUIRED TO FOLLOW THE GUIDELINES.
8 NOW, WHETHER THE GUIDELINES ARE A GOOD IDEA OR
9 A BAD IDEA IS IRRELEVANT. MY JOB, AND I'M REQUIRED TO DO
10 IT WHEN I TAKE THE JOB, IS TO ENFORCE THE LAWS ENACTED BY
11 THE CONGRESS.
12 BEFORE 1987 THERE WEREN'T ANY GUIDELINES.
13 WELL, THERE WERE GUIDELINES OF A LOOSER SORT, BUT THEY
14 WEREN'T BINDING. AND BECAUSE THE JUDGES OF THE UNITED
15 STATES COURTS IN VARIOUS PLACES HAD ABSOLUTE DISCRETION
16 TO SENTENCE ANYBODY TO ANYTHING, UP TO THE MAXIMUM, THERE
17 WAS A WIDE DIFFERENCE FOR THE SAME ACTIVITY, ONE GUY
18 MIGHT GET A YEAR'S PROBATION AND SOMEBODY ELSE TEN YEARS
19 IN PRISON, I MEAN, IT WAS JUST UP TO THE JUDGE, AND IT
20 SEEMED TOO WIDE A DISPARITY. AND THEY DECIDED,
21 APPARENTLY UPON PRESSURE, OR WHAT THEY THOUGHT WAS
22 PRESSURE FROM THEIR CONSTITUENTS, THAT THERE OUGHT TO BE
23 A LITTLE BIT CLOSER REGULARITY.
24 WHEN THEY GOT TO THAT POINT, AFTER A LEVEL
25 FORTY-THREE, I HAVE NO DISCRETION. IF I SENTENCE YOU TO

 

 

 
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22

TWO HUNDRED MONTHS OR A HUNDRED MONTHS, HE CAN APPEAL,

 

2 AND I WOULD ALMOST BE REVERSED BY FAX, IT WOULD BE THAT
3 BAD.

4 I DON'T HAVE ANY RIGHT TO JUST SAY I WON'T

5 ENFORCE THE GUIDELINES.

6 WHEN I SAY I WON'T ENFORCE THE LAW, I MIGHT AS
7 WELL -- I HAVE AN OBLIGATION TO WALK OFF THIS BENCH AND
8 LEAVE IT.

9 THE DEFENDANT: WELL, YOUR HONOR --
10 THE COURT: I'VE GOT TO ENFORCE IT, ANDRE, BUT
11 IT DOESN'T GIVE ME ANY PLEASURE.
12 YOU'RE IN A POSITION NOW THAT -- I'LL JUST SAY
13 THIS, THAT THIS SENTENCE WILL CERTAINLY FOCUS YOUR

14 ATTENTION ON THE MATTERS AT HAND IN THE NEXT FEW MONTHS,
15 AND I PERSONALLY HOPE THAT I GET AN OPPORTUNITY TO PASS
16 ON A MOTION TO REDUCE IT. I HAVE NO AUTHORITY AS TO THE
17 IMPOSITION OF SENTENCE NOW.
18 I WISH THAT THERE WASN'T SO MUCH, QUOTE, EASY
19 MONEY IN DRUGS, AN EASY LIFE STYLE, AND THAT -- YOU KNOW
20 LOTS OF PEOPLE THAT DO HONEST WORK AND THEY DON'T SEEM TO
2i GET AHEAD. THEY DON'T EVER HAVE FRIENDS THAT ARE GOING
22 TO GIVE THEM A JAG WHEN THEY GET OUT OF PRISON, BUT
23 THEY'LL GIVE THEM SOME OTHER KIND OF SUPPORT, HELP, LOVE,
24 SOMETHING LIKE THAT, BUT NO '88 JAG JUST FOR DRIVING
25 HOME.

 

 

 
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23

THE MATERIAL POSSESSIONS THAT YOU ONCE ENJOYED,
THEY'RE GONE, YOU KNOW THAT. I CAN'T EVEN IMPOSE A FINE
ON YOU.

THE DEFENDANT: YOUR HONOR, THE ONLY REASON I

BRUNG UP THE ISSUE IS THAT IN THE PRESENTENCE

 

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INVESTIGATION I READ A HUNDRED AND FIFTY KEYS, AND I
SAID, WELL, THAT'S WHAT THEY HAD INFORMATION ON, PEOPLE
CORROBORATED THAT, BUT I LOOKED BACK AND I SEE THAT IN
‘87 MR. LIVINGSTON INDICATED THAT IT WAS DRUGS THAT I WAS
DEALING, HE WAS A CO-CONSPIRATOR WITH ME THEN, WHICH HE
WASN'T, AND THAT'S THE SAME FILING THAT MADE ME UP TO
FOUR THOUSAND AND SOME KILOGRAMS OF COCAINE, WHICH WAS A
MANDATORY LIFE SENTENCE JUST ABOUT, OR IS, AND THAT'S WHY
IT'S KIND OF HARD FOR ME TO ACCEPT IT.

AND THEN HE COME UP AGAIN AND SAY HE SOLD ME A
GUN, BUT NONE OF THESE THINGS WAS MENTIONED IN TRIAL, AND
IT WAS JUST BLOWED ALL OUT OF PROPORTION, FROM A HUNDRED
KILOS, WHICH THEY WASN'T SURE ABOUT THAT. YOU KNOW, IT
WASN'T --

THE COURT: WELL, SEE, I HAVEN'T HEARD YOU
ADMIT ANYTHING ABOUT YOUR RESPONSIBILITY YET, NOT FROM
THE DAY THE JURY WAS SELECTED DOWN TO RIGHT NOW.

I'M GOING TO PRONOUNCE SENTENCE NOW, MR. ROUTT.

PURSUANT TO THE SENTENCING REFORM ACT OF 1984,

IT'S THE JUDGMENT OF THE COURT THAT THE DEFENDANT, ANDRE

 

 
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24
1 DONNELL ROUTT, ALSO KNOWN AS ANDREW JOHNSON, IS HEREBY
a COMMITTED TO THE CUSTODY OF THE BUREAU OF PRISONS, TO BE
3 IMPRISONED FOR A TERM OF LIFE.
4 THIS SENTENCE IS IMPOSED TO RUN CONCURRENT WITH
5 THE DEFENDANT'S CURRENT STATE IMPRISONMENT.
6 IF RELEASED FROM IMPRISONMENT, THE DEFENDANT
7 SHALL BE PLACED ON SUPERVISED RELEASE FOR A TERM OF FIVE
8 YEARS.
9 WITHIN SEVENTY-TWO HOURS OF RELEASE FROM THE
10 CUSTODY OF THE BUREAU OF PRISONS, THE DEFENDANT SHALL
11 REPORT IN PERSON TO THE PROBATION OFFICE IN THE DISTRICT
12 TO WHICH THE DEFENDANT HAS BEEN RELEASED.
13 WHILE ON SUPERVISED RELEASE, THE DEFENDANT
14 SHALL NOT COMMIT ANOTHER FEDERAL, STATE OR LOCAL CRIME,
15 SHALL COMPLY WITH THE STANDARD CONDITIONS THAT HAVE BEEN
16 ADOPTED BY THIS COURT, AND SHALL COMPLY WITH THE
17 FOLLOWING ADDITIONAL CONDITIONS:
18 THE DEFENDANT SHALL NOT ILLEGALLY POSSESS A
19 CONTROLLED SUBSTANCE.
20 THE DEFENDANT SHALL NOT POSSESS A FIREARM OR
al OTHER DESTRUCTIVE DEVICE.
22 THE DEFENDANT SHALL PARTICIPTAE IN A PROGRAM OF
23 TESTING AND TREATMENT FOR DRUG ABUSE AS DIRECTED BY THE
24 PROBATION OFFICER UNTIL SUCH TIME AS THE DEFENDANT IS
25 RELEASED FROM THE PROGRAM BY THE PROBATION OFFICER.

 

 

 
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i IT'S FURTHER ORDERED THAT THE DEFENDANT SHALL
2 PAY TO THE UNITED STATES A SPECIAL ASSESSMENT OF FIFTY
3 DOLLARS.

4 THE DEFENDANT IS DENIED ELIGIBILITY TO APPLY

5 FOR OR RECEIVE FEDERAL BENEFITS FOR A PERIOD OF FIVE

6 YEARS FROM THE DATE OF THIS JUDGMENT.

7 THE DEFENDANT DOES NOT HAVE THE ABILITY TO PAY

8 A FINE AND THE COURT WILL WAIVE A FINE IN THIS CASE.

9 INVESTIGATION IN THIS CASE REVEALS THAT THE
10 DEFENDANT HAS BEEN INVOLVED IN HEAVY DRUG TRAFFICKING
11 SINCE THE MID-1980S. AUTHORITIES HAVE TRACKED HIS DRUG
12 DEALINGS FROM 1987 TO MAY OF 1992.

! 13 THE DEFENDANT WAS INCARCERTAED IN 1990 AND
14 RELEASED IN 1991. RELIABLE SOURCES INDICATE THE
15 DEFENDANT CONTINUED HIS DRUG-DISTRIBUTION ACTIVITIES
16 IMMEDIATELY FOLLOWING HIS RELEASE FROM INCARCERATION.
17 THE DEFENDANT WAS INVOLVED IN SEVERAL DRUG
18 CONSPIRACIES AND HELD DIFFERENT ROLES IN EACH.
19 AS A RESULT OF HIS INVOLVEMENT WITH MULTIKILO
20 QUANTITIES OF POWDER AND CRACK COCAINE, HIS MINIMUM
21 GUIDELINE IMPRISONMENT RANGE IS LIFE.
22 THIS TERM WILL APPROPRIATELY ADDRESS THE
23 SENTENCING OBJECTIVES OF PUNISHMENT, GENERAL DETERRENCE
24 AND INCAPACITATION.
25 A FIVE YEAR PERIOD OF SUPERVISED RELEASE I5

 

 

 
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26

 

 

 

1 MANDATED AND WILL ALLOW THE PROBATION OFFICER AND THE
2 DEPARTMENT ADEQUATE TIME TO ADDRESS THE DEFENDANT'S
3 SUPERVISION NEEDS.
4 NO FINE IS ORDERED, AS THE DEFENDANT DOES NOT
5 HAVE THE ABILITY TO PAY A FINE.
6 YOU HAVE THE RIGHT TO APPEAL YOUR CONVICTION BY
7 A JURY IN THIS CASE.
8 YOU HAVE THE RIGHT TO APPEAL THE SENTENCE WHICH
9 HAS BEEN IMPOSED BY THIS COURT.
10 YOU HAVE THE RIGHT TO APPLY TO APPEAL THOSE IN
11 FORMA PAUPERIS. IF YOU MAKE SUCH APPLICATION FOR THE
12 APPEAL IN FORMA PAUPERIS, THE APPLICATION WILL BE ACTED
13 ON PROMPTLY.
14 YOU'RE REMANDED TO THE CUSTODY OF THE UNITED
15 STATES MARSHAL.
16 THIS COURT IS IN RECESS.
17 THE MARSHAL: ALL RISE.
18 (RECESS AT 5:02 P.M.)
19
20 I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT
21 FROM THE RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED
22 MATTER.
23 YY
24 Ly .) pate 9.7.9f
25 WENDELL R. PARKS, , cM DATE

 

 

 
